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 1
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 2

 3    ANGELA GERMANY,                             ) Case No. 2:16-cv-00512-MWF-JPR
                                                  )
 4
      Plaintiff,                                  ) ORDER
 5                                                )
 6
              vs.                                 )
                                                  )
 7    CASH CENTRAL OF                             )
 8    CALIFORNIA, LLC,                            )
                                                  )
 9
      Defendant.                                  )
10                                                )
                                                  )
11

12
              IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
13
      this matter is dismissed with prejudice, pursuant to Federal Rule of Civil
14
      Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and attorneys’
15
      fees.
16
                                            Dated this 6th day of February, 2017.
17

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                                             _______________________________
20
                                             The Honorable Michael W. Fitzgerald
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                                         Order to Dismiss - 1
